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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

  FRACTUS, S.A.                             §
                                            §
  v.                                        §       CASE NO. 6:09cv203
                                            §
  SAMSUNG ELECTRONICS CO.,                  §
  LTD., ET AL.                              §

                                            ORDER

         Comes now the Court and pursuant to the status conference held on November 2, 2009,

  orders that the following dates be incorporated into the Docket Control Order which is due by

  November 16, 2009:

                Markman                     September 2, 2010 at 9:00 a..m. before Judge Love;

                Pre-Trial Conference        April 21, 2011 at 9:00 a.m. before Judge Love;
                     .
                Jury Selection              May 2, 2011 at 9:00 a..m. before Judge Davis;

                Jury Trial                  May 9, 2011 at 9:00 a.m. before Judge Davis.




                   So ORDERED and SIGNED this 5th day of November, 2009.




                                                 ___________________________________
                                                            JOHN D. LOVE
                                                 UNITED STATES MAGISTRATE JUDGE
